Case No. 1:08-cv-01752-ZLW Document 3 filed 09/18/08 USDC Colorado pgi1of4

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

wil Acti -cy- FILE
Civil Action No. 08-CV-01 £32 UNITED STATES ED COURT
(To be supplied by the court} DENVER, COLORADO
SEP 18 2008
PIER
AHMAD SON , ABREGORY C. LANGHAM
CLERK
¥.
J.M. WILNER, Warden, FCI-Florence,
, Respondent(s).

PRISONER'S MOTION AND AFFIDAVIT
FOR LEAVE TO PROCEED PURSUANT TO 28 U.S.C. § 1915
IN A HABEAS CORPUS ACTION

I request leave to commence this habeas corpus action without prepayment of fees or

security therefor pursuant to 28 U.S.C. § 1915. In support of my request, I declare that:

1, Iam unable to pay such fees or give security therefor.

2. |am entitled to redress.

3. [have Os in my prison account.
(amount)

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4, My other assets and their value are listed below: (attach an additional page if necessary)

(Assets may include income from employment, rent payments, interest or dividends, pensions, annuities, life
insurance payments, Social Security, Veteran's Administration benefits, disability pensions, Worker's
Compensation, unemployment benefits, gifts or inheritances, cash, funds in bank accounts, real estate,
stocks, bonds, notes, automobiles or other valuable property (excluding ordinary household furnishings and
clothing), or any other source of income.)

N/A

DECLARATION UNDER PENALTY OF PERJURY

I declare under penalty of perjury that the information in this motion and affidavit is true
and correct. See 28 U.S.C. § 1746; 18 U.S.C. § 1621.

Executed on September 8, 2008
(Date)

domo Cewwor

(Prisoner’s Original Signature)

Required Certification

You must attach to this motion and affidavit a certificate of the warden or other
appropriate officer of the institution in which you are confined as (o the amount of money or
securities currently on deposit in your inmate trust fund account (or institutional equivalent).

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nmateStatementCombined

Inmate Reg #: 87079012
inmate Name:
Report Date: 09/15/2008
' Report Time: 3:31:14 PM
AIpha
code Date/Time Reference#
“LX 9/8/2008 6:44:16 49
- PM
"LX 9/3/2008 5:12:52 TFN0903
PM
“LX 9/3/2008 2:45:09 020110-8
PM
"LX 8/20/2008 TFNO0820
. 6:46:03 PM
LX 8/20/2008 48
5:43:15 PM
*LX 8/18/2008 33323108
8:04:39 PM
LX 8/17/2008 TFNO817
7:48:07 AM
*LX 8/11/2008 18
5:11:33 PM
“LX 8/9/2008 6:48:40 TFNO809
PM
"LX 8/6/2008 7:23:47 TFNO806
PM
3LX 8/6/2008 4:33:38 TFNO806
PM
LX 8/6/2008 9:30:22 020078-8
AM
LX 7/14/2008 60
6:23:39 PM
*LX 7/14/2008 59
6:22:25 PM
SLX 7/12/2008 TFNO712
11:19:04 AM
“LX FALL/2008 TFNO711
6:46:42 PM
"LX 7/10/2008 TFNO7i0
6:07:01 PM
LX 7/10/2008 TFNO710
5:40:02 PM
*LX 7/10/2008 HEPP0608
8:08:16 AM
LX FWTH2008 6:10:26 48
PM
LX 7/7/2008 6:09:39 47
PM
"LX 7/3/2008 6:14:01 TFN0703
PM
*LX 7/3/2008 6:13:28 TFN0703
AM
LX 7/2/2008 3:27:38 TFNO702
PM
*LX 7/2/2008 1:12:31 020090-8
PM
"LX 7/1/2008 6:20:22 TFNO701
- AM
*LX 6/30/2008 18
5:20:41 PM
*7LX 6/29/2008 33319608
3:03:20 AM
*7LX 6/12/2008 16
5:02:59 PM
7LX 6/10/2008 HIPPOSO8
7:07:37 AM
*LX 5/16/2008 TFNOS16
7:42:06 PM
“LK 5/15/2008 139
: 6:02:17 PM
LX 5/9/2008 TFNO509
10:49:32 AM
7LX 5/9/2008 7:26:25 HIPPO408
AM
LX 4/24/2008 97
5:05:06 PM
LX 4/20/2008 TFN0420

PIERSON, AHMAD

Inmate Statement

Current Institution:

Housing Unit:

Living Quarters:

Transaction Type

. Sales

Phone Withdrawal
Payroll - UNICOR
Phone Withdrawal
Sales

Western Union
Phone Withdrawal
Sales

Phone Withdrawal
Phone Withdrawal
Phone Withdrawal
Payroll - UNICOR
Sales

Sales

Phone Withdrawal
Phone Withdrawal
Phone Withdrawal
Phone Withdrawal
Payroll - IPP

Sales

Sales

Phone Withdrawal
Phone Withdrawal
Phone Withdrawal
Payroli - UNICOR
Phone Withdrawal
Sales

Western Union
Sales

Payroll - IPP
Phone Withdrawal
Sales

Phone Withdrawal
Payroll - IPP
Sales

Phone Withdrawal

ittp://10.33.81.107/UMR/InmateStatementCombined.aspx

Florence Complex

FLP-0-A
O01-306U

Transaction
Amount
($89.10)

(38.00)
$96.57
($1.00)
($54.10)
$50.00
($2.00)
($54.60)
($3.00)
($3.00)
($5.00)
$72.43
($1.40)
($30.50)
(81.00)
($1.00)
($1.00)
($1.00)
$36.54
($2.70)
($15.15)
($1.00)
($2.00)
($4.00)
$24.86
($1.00)
($49.15)
$50.00
($26.84)
$26.46
($1.00)
($22.62)
($4.00)
$27.72
($23.55)
($1.00)

Encumbrance

Amount Ending Balance
$0.03

$89.13
$97.13
$0.56
$1.56
$55.66
$5.66
$7.66
$62.26
$65.26
$68.26
$73.26
$0.83
$2.23
$32.73
$33.73
$34.73
$35.73
$36.73
$0.19
$2.89
$18.04
$19.04
$21.04
$25.04
$0.18
$1.18
$50.33
$0.33
$27.17
$0.71
$1.71
$24.33
$28.33
$0.61
$24.16

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nmateStatementCombined
9:07:03 AM
iLX 4/11/2008 HICD0308 - Debit Encumbrance - $1.53 ereeeees
12:10:23 AM 1302 Released
7LX 4/11/2008 HICDO308 - Debt Encumbrance - $0.47 saeceene
12:10:23 AM 1226 Released
{LX 4/11/2008 HICDO308 Inmate Co-pay ($2.00) $25.16
12:10:23 AM
*LX 4/10/2008 105 Sales ($6.65) $27.16
6:07:38 PM
LX 4/10/2008 TFN0410 Phone Withdrawal ($3.00) $33.81
10:58:32 AM
7LX 4/10/2008 HIPP0308 Payroll - IPP $11.34 $36.81
7:53:38 AM
7LX 4/10/2008 HICDO308 - Debt Encumbrance ($1.53) weneenee
7:53:38 AM 1302
iLX 4/6/2008 5:03:59 70105502 Lockbox - CD $25.00 $25.47
AM
*LX 3/31/2008 HICD0308 - Debt Encumbrance ($0.47) wneeenee
12:06:16 PM 1226
LK 3/19/2008 140 Sales ($29.80) $0.47
7:24:32 PM
7LX 3/17/2008 TXO31708 Transfer - In from $29.00 $30.27
3:10:25 AM TRUFACS
{LX 3/10/2008 15 Sales ($66.20) $1.27
5:27:45 PM
ILX 3/8/2008 5:30:03 TFNO308 Phone Withdrawal ($1.00) $67.47
PM
LX 3/8/2008 TFN0308 Phone Withdrawal ($6.00) $68.47
12:42:05 PM
12
Total Transactions: 53
Totals: $0.03 $0.00
Current Balances
ailable Pre-Release Debt SPO Other Outstanding Administrative Account
Alpha Cade Balance Balance Encumbrance Encumbrance Encumbrance Instruments Holds Balance
FLX $0.03 $0.00 $0.00 $0.00 $0.00 $0.00 $0.00 $0.03
Totals: “$0.03 $0.00 $0.00 $0.00 $0.00 $0.00 $0.00 $0.03.
Other Balances
National 6 Natioanl 6 Local Max Commissary Re Commissary
National 6 Months Months Avg Balance-Prev30 Average Balance Restriction Start ee
Months Deposits Withdrawals Daily Balance Days - Prev 30 Days Date Date
$420.92 $451.16 $10.83 $97.13 $19.68 NA NA
ar Cre

AUTHORIZ

1955, TOA

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